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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 8   MILAUDI KARBOAU,

 9                              Petitioner,                CASE NO. C18-619-MJP-BAT

10           v.                                            ORDER FOR RETURN AND
                                                           STATUS REPORT
11   ICE FIELD OFFICE DIRECTOR,

12                              Respondent.

13          Petitioner has filed a habeas corpus petition under 28 U.S.C. § 2241. Having reviewed

14   the petition, the Court ORDERS:

15          (1)     If not previously accomplished, electronic posting of this Order and petitioner’s

16   § 2241 habeas petition shall effect service upon the United States Attorney of the petition and all

17   supporting documents. Service upon the United States Attorney is deemed to be service upon

18   the named respondent.

19          (2)     On or before June 29, 2018, respondent(s) shall file a return and status report

20   (“RSR”) as provided in 28 U.S.C. § 2243, explaining why the Court should not grant petitioner’s

21   petition. As a part of such return, respondent(s) shall submit a memorandum of authorities in

22   support of his position and state whether an evidentiary hearing is necessary.

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 1            (3)   In accordance with LCR 7(d), respondent(s) shall note his return for consideration

 2   on July 27, 2018. Petitioner may file and serve a response on or before July 23, 2018, and

 3   respondent(s) may file and serve a reply on or before the noting date.

 4            (4)   If petitioner’s custody status changes at any point during this litigation,

 5   respondent(s) shall file a status update with the Court as soon as possible and no later than

 6   14 days after the change.

 7            (5)   The Clerk shall send a copy of this Order to petitioner and the assigned District

 8   Judge.

 9            DATED this 30th day of May, 2018.

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                                                           BRIAN A. TSUCHIDA
12                                                         Chief United States Magistrate Judge

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